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                In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                             No. 15-443V
                                       Filed: February 12, 2016

* * * * * * *                  *   *   *   *   *   *              UNPUBLISHED
ROBERTA REYNA,                                     *
                                                   *              Special Master Gowen
                 Petitioner,                       *
                                                   *              Joint Stipulation on Damages and;
v.                                                 *              Attorneys’ Fees and Costs;
                                                   *              Transverse Myelitis; Influenza
SECRETARY OF HEALTH                                *              (“Flu”) Vaccine
AND HUMAN SERVICES,                                *
                                                   *
                 Respondent.                       *
                                                   *
*    * *    *    *   *   *     *   *   *   *   *   *

Mark L. Krueger, Krueger & Hernandez, Baraboo, WI, for petitioner.
Heather L. Pearlman, United States Department of Justice, Washington, DC, for respondent.

                               DECISION ON JOINT STIPULATION1

       On May 1, 2015, Roberta Reyna (“petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-10 to -34 (2012). Petitioner
alleged that, as a result of receiving an influenza (“flu”) vaccine on October 3, 2013, she
developed transverse myelitis. Petition at Preamble. Further, petitioner alleged that she
experienced residual effects of the injury for more than six months. Petition at ¶ 9.

       On February 9, 2016, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that petitioner’s transverse

1
 Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012)(Federal Management and
Promotion of Electronic Government Services). As provided by Vaccine Rule 18(b), each party has 14
days within which to request redaction “of any information furnished by that party: (1) that is a trade
secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b).
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§
300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to individual sections of the
Vaccine Act are to 42 U.S.C.A. § 300aa.
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myelitis or any other injury was caused-in-fact by petitioner’s October 3, 2013, flu vaccination,
and denies that her current disabilities are sequelae of this injury. Stipulation ¶ 6. Nevertheless,
the parties agree to the joint stipulation, attached hereto as Appendix A. The undersigned finds
the stipulation reasonable and adopts it as the decision of the Court in awarding damages, on the
terms set forth therein.

        In the February 9, 2016, stipulation, the parties also stipulate to an award of attorneys’
fees and costs. The parties agree to a total award of attorneys’ fees and costs in the amount of
$18,144.05. Stip. at ¶ 8(b). In accordance with General Order #9, petitioner represents that she
did not personally incur costs related to this proceeding. Id. The Vaccine Act permits an award of
reasonable attorneys’ fees and costs. 42 U.S.C. § 300 aa-15(e). The undersigned finds the
stipulation for fees and costs reasonable and adopts it as the decision of the Court.

        The parties stipulate that petitioner shall receive the following:

    (1) A lump sum of $180,000.00 in the form of a check payable to petitioner. This
        amount represents compensation for all damages that would be available under 42
        U.S.C. § 300aa-15(a); and

    (2) A lump sum of $18,144.05 in the form of a check jointly payable to petitioner and
        petitioner’s law firm, Krueger & Hernandez, PC, for attorneys’ fees and costs
        available under 42 U.S.C. § 300aa-15(e).

        Id. ¶ 8.

        The undersigned approves the requested amounts for petitioner’s compensation.
Accordingly, the clerk of the court SHALL ENTER JUDGMENT in accordance with the terms
of the parties’ stipulation.3

    IT IS SO ORDERED.

                                                          s/Thomas L. Gowen
                                                          Thomas L. Gowen
                                                          Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.
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